                              EXHIBIT E




Case 5:17-cv-00097-EKD-JCH Document 45-5 Filed 03/21/18 Page 1 of 12 Pageid#: 593
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Harrisonburg Division



   JOHN DOE 1, et al., by and through their
   next friend, NELSON LOPEZ,on behalf of
   themselves and all persons similarly situated,
                                                       CIVIL ACTION
          Plaints,

   ►i~                                                 Case No.: 5:17-cv-00097-EKD

   SHENANDOAH VALLEY JUVENILE
   CENTER COMNIISSION,                                 Honorable Elizabeth K.Dillon

          Defendant.


                                            AFFIDAVIT
   COMMONWEALTH OF VIRGINIA
   COUNTY OF AUGUSTA:

          This day, Carina Contreras, Case Manager for Shenandoah Valley Juvenile Center
   Commission, appeared before the undersigned notary public and made oath to the following
   based on her personal knowledge:

          1.     I am employed as a case manager for Shenandoah Valley Juvenile Center
   Commission ("SVJC").
          2.     I am the case manager for the individual identified by Plaintiffs as "D.M."
          3.     As his case manager, I supervised and oversaw all aspects of D.M.'s care and
   placement at SVJC.
          4.     I am a custodian of and have access to D.M.'s case file in the performance of my
   employment responsibilities.
          5.     All records referenced by and attached to this affidavit:
         (a)     Are true, accurate, and complete copies of records regularly maintained by SVJC
                 as part of D.M.'s case file in the ordinary course of business;
         (b)     Are made at or near the time ofthe actions and events described therein;




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Case 5:17-cv-00097-EKD-JCH Document 45-5 Filed 03/21/18 Page 3 of 12 Pageid#: 595
                                                                                                                                                                       EXHIBIT
                                                                                                                                                               a
                                                                                                                                                               ~          r- i




                                                                                   UAC Rasic In(urmation



Las[ Name:

AKA:

Status:                     ADMITTED
Date of Birth:                                                                                 Gender:                       M
Alien No.:                  206369172                                                          LOS:                          21
Age:                        17                                                                 Current Program:              Shenandoah Valle}' Statt~Szcure
Country of Binh:            Honduras                                                           Admitted Date:                9.1 x/2014




Date of Incident:           10/x/2014                                                          Time of Incident:            06:00 PM
Incident Reported Date:     10/6/2014                                                          Incident Reported Time:       11:15 AM
Location Of Incident:       SVJC School Hallway
Incident Type:
Unauthorized Absence:       r R~y~y~,
                            r Unauthorized Attempt/Runaway Risk
                            r Unauthorized Absence of UAC (foster care)
Abuse Allegation: Type of   ~'Physical Abuse                                                   Abuse Allegation: Alleged    —Select Abuse Allegation Type —
Abuse                                                                                          Perpetrator
                            ('" S0XU31 AbUSf
                            i— Verbal Abuse
                            fChild Neglect
                            r Other Abuse
UAC Behavior:               r Physical Aggression                     r Incident Requiring Isolation       r Sexual Assault             r Harm to Staff
                            r Inappropriate Sexual Behavior           r Sexual Harm to other UAC           r Physical Harm to Other UAC R Verbal A~ression
                            r Possession/[Jse of Weapon           R Harm to Self                           R Disruptive Behavior        fJ Swcide Ideation/Gestiue/Attempt
                            r Arrest and/or Incarceration ofa UAC 1"' Possession/Use ofDrugs/Alcohol R Restraint ofUAC
Medical/Mental Health:       r pgy~ ofUAC
                             R Mental Health Emergency
                             f" Injury Requiring Medical Attention
                             fUAC Pregnant
                             fGhildbirtli
                             f" Medication Issue
Other:                      r Suspected Smuggling/Crafticking Concern
                            I'Incident Involving Community Members
                            fIncident Involving Media
                            ~" Incident Involving Pofice
synapsis of Incident:       On 10/05/14 at approximately 1800 hours, minor became increasingly dysregulated and engaged in self-injurious behavior by banging his head forcefully against the




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                           brick wall in the school hallway and screaming that he wanted to die and asked staffallow him to kill himself. Tlvs duucian attempted verbal intervention, but minor
                           was unable W calm down and the intensity ofthe self-injurious behavior escalated. Minor continued ro shout that he wanted to die and that he was going to kill
                           himself. Minor was observed responding m auditory hallucinations ofa command name telling him to kill himselfand to do what he was thinking ofdoing Clinician
                           contacted Valley Community Services Boazd(CSB)to respond to the facility for an assessment at 1835 hours. Minor was interviewed by Scott KleineR from Valley
                           CSB Emergency Services at 2010 hours. After CSB evaluator conducted the mental status evaluation, he advised minor is appropriate for admission to CCCA
                           (Commonwealth Center for Children and Adolescents —Psychiatric Hospital). Mr. KleineR completed the screening paperwork and contacted CCCA.Clinician and
                           facility staffremained with the minor on one to one supervision for stabilization and safety unril transfer to CCCA. Minor was picked up by Staunton City Police for
                           transport to CCCA at 0036 hours on 10/06/14 for psychiahic admission.
W icn eases:              p, Andrew Mayles,Michael Neilson, Devon Snow,Rachel Thacker,Kim Craft, Mr. Perry.
Staff Response and
                          Clinician supervised minor for stabilization and safety. Minor remained on one to one supervision until transfer to CCCA at 0036 hours on 10/06/14.
Intervention:
resolution and Follow-up: for is receiving intensive intervention and close supervision. Case Manager Carina Contreras and clinician will follow up with staffat CCCA to continue with legal,
                          clinical, case management services.
aecommendaeions:          Monitor minor and coordinate with CCCA staffand ORR/DCS stafffor minor's continuing care.
4ctual or Expected Media
Interest:                  No actual or expected media intzrest.
Persons/A2encv or Relationship to UAC
                           Contact Name                                                   Agency                            Phone No.                   Date                    Time
                                                                                                                                                                       11:15
Jim Schenkenberg             ~ '                                      Project Officer                     ~           2024011196               10/6/2014
                                                                                                                                                                       AM
                                                                                                                                                                       11:I S
Mark Beru~ett                                                         Contract Field Specialist                       2022605738               10/6/2014
                                                                                                                                                                       AM
                                                                                                                                                                       11:15
PaVicia Melendres                                                     Case Coordinator                                7035876557               10/6/2014
                                                                                                                                                                       AM
                                                                                                                                                                       11:15
DUCS Hotlinz                                                          Finergency Voicemail                            2024015709               10/6/2014
                                                                                                                                                                       AM
                                                                                                                                                                       11:15
Dzifa Awunyo-:lkaba                                                   Medical via email                                                        10/6/2014
                                                                                                                                                                       AM
                                                                                                                                                                       11:15
David Fink                                                            FFS Supervisor                                  2025073294               10/6/2014
                                                                                                                                                                       AM
DHS/ICE Office with Jurisdiction over Dlinm• Im~oh~ed
Name:                      P3til Tnlmp
Title:                      DHS/JC
Contact Number:             7035689665
                                         ~.~~...
Person Filing Report
Name:                       p. AndrewMayles
Title:                      Restdent in Counseling
Contact Number:             5408860729
Contact for Follow-up
Name:                       P. Andrew Mayles
Title:                      Resident in Counseling
Contact Number:             5408860729
Approving Supervisor
Name:                       Cristina Casado
T~~~e:                      Program Manager




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Contact Number:       5408860729
Llser Notes:
SIR.4ddendum Notes:




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First Name:


Last Name:


G\:~ti


Status:                      ADMIT"I'ED
Date of Birth:                                                                               Gender:                      M
Alien No.:                   206369172                                                       LOS:                       35
Age:                         17                                                              Current Program:             Shenandoah Valley Staff Secure
Country of Birth:            Honduras                                                        Admitted Date:             9/1 5120 14




Date of Incident:            l0/l7/2014                                                     Time of Incident:           08:38 PM
Incident Reported Date:      10/18/2014                                                     Incident Reported Time:     01:00 PM
Location Of Incident:        BCHVO POd
Incident Type:
 Unau[horizedAbsence:        rR~~yy~
                             r Unauthorized AttempURunaway Risk
                             fUnauthorized Absence ofUAC(foster care)
Abuse .411egation: Type of   r Physical Abuse                                               Abuse Allegation: Alleged     — SeleCt Abuse Allegation Type —
.Abuse                                                                                      Perpetrator
                             r Sexual Abuse
                             r Verbal Abuse
                             r Child Neglect
                             r Other Abuse
 UAC Behavior:               I— Physical Aggession                  r Incident Requiring Isolation     r Sexual Assault                 r Harm to Staff
                             r Inappropriate Sexual Behavior        r Sexual Hazen to other UAC        r Physical Harm to Otl~er UAC r Verbal Aggression
                             r Possession/Use of Weapon             R Hann to Self                     r Dismptive Behavior             F Suicide Idearioci/Gesnue/Attempt
                             r Arrest and/or Incarceration ofa UAC r Possession/Use ofDmgs/Alcohol F Restraint ofUAC
 Medical/Mental Health:       ~'j~y~ Of UAC
                             r Mental Health Emergency
                             r Injury Regtiring Medical Attenrion
                             fUAC Pregnant
                             r Childbirth
                             fMedication Issue
 Other:                      r Suspected Smuggling/I'rafficking Concern
                              —'Incident Involving Community Members
                             r Incident Involving Media
                             r Incident Involving Pofice
 Synopsis of Incident:       On 10/17/14 at 8:38PM,UAC                             was observed cutting his ann with a staple at his desk. When UAC                          saw staff at




          Case 5:17-cv-00097-EKD-JCH Document 45-5 Filed 03/21/18 Page 7 of 12 Pageid#: 599
                           the door,lie got up from his desk and fumed his back to staffso that they could not see his arm. Per staff, UAC                                   had various items with
                           blood on them,scattzred throuehout his room. UAC                                    was verbally redirected several times and attempted to verbally deescalate the
                           situation. UAC                              immediately asked staffto leave his room and reported that he does oot want to talk. UAC                                     was ~
                           crying at this time. UAC stated that he wants to die and that staff will not be able to stop him this time. UAC                                was verbally redirected
                           several times to give Shift Supervisor Craft the staple. He continued to refuse each rime while continuing to scratch himselfin front ofstaffand sobbing. Affer
                           exhausting all forms ofverbal intervention, UAC                                 was placed in a physical restraint for the safety ofUAC and staff. While in the physical
                           res~aint UAC                                struggled in the hold and attempted to prevent stafffront retrieving the staple. Once staff recovered the staple, UAC
                                                 began sobbing loudly and attempted to bang his head on his bunk and wall. UAC                                     remained in the physical restraint to
                           prevent fwtherself-harm. While in the hold,staffcontinued to talk to UAC                                    and he gradually became calmer. Staff cleaned the blood offof
                           UAC's anus and hands. After several minutes, UAC became very calm. At 9:OOPM,Clinician Andrew Mayles arrived to meet with UAC. At that time, UAC
                                                 was released from the physical hold and staffexited the minor's room. UAC                                   .met with CIurician Andrew Mayles with
                           Assistant Shift Supervisor Snow present
witnesses:                 Ms. Craft, Shift Supervisor Ms. Thacker, Assistant Shift Supervisor Mr. Snow,Assistant Shift Supervisor Mr. Thornton,StaffMr. Sutherly, StaffP. Mdrew
                           Mayles,Resident in Counseling
Scaff Response and         On 10/17/14 at 8:38PM,staffobserved UAC                                     cutting his azm at his desk with a staple. At that time,staffcalled for assistance. Stan'
i ncervencian:             observed various items with blood on them,scattered throughout his room. Staffattempted to verbally redirect UAC                                       several times and
                           verbally deescalate the situation. UAC                             .refused to give the staple to staff, continued to cry and scratch himself in front ofstag: After
                           exhausting all forms ofverbal intervention, staff placed UAC                               in a physical restraint for the safety ofUAC and staff. While in the physical
                           hold,staff was able to retrieve the staple. At that time,UAC 1                             began sobbing loudly and attempted to bang his head on his bunk and wall.
                           Staffsecured UAC                                 in the physical hold to prevent furtherself-hazm. As staff verbally deescalated the situation, UAC gradually became
                           calmer. Staffcleaned the blood offof UAC's amvs acid hands. At several minutes oftalking UAC                                        became very calm. At9:OOPM,
                           Clinician Andrew Mayles azrived to meet with UAC.At that time,staffreleased UAC front the physical hold and exited his room. Clinician supervised minor for
                           stabilization and safety with Assistant Shift Supervisor Snow present
xesoiution and Follow-up: UAC will remain on Intensive Watch. The facility nurse will follow up on the minor's scratches. UAC has been accepted to Sandy Pines RTC. UAC is currenU}
                          pending bed space to be available at Sandy Pines RTC for the Vansfer.
xecommendacions:          It is recommended that UAC                            continue to receive case management, mental health, legal and medical services.
Actual or Expected Media
                           No actual or expected media interest.
Interesh
PersonslAgency m• Relationship to IIAC
                           Contact Name                                                   Agency                            _    Phone No.                    Date                      Dime          -
                                                                        —
                                                                        sirhotline@acfhhs.gov                              2024015709                10/18/2014                ~~ 00
DUCSHoUine                                                                                                                                                                    FPM

David Fink                                                              FFSSupervisor                                      2025073294                10/18/2014               ~~'~
                                                                                                                                                                              PM
                                                                                                                                                                              OL•00
Mazk Bennet                                                             Contract Field Specialist                          2022605738                10/18/2014
                                                                                                                                                                              PM
                                                                                                                                                                              01:00
Jim Schenkenberg                                                        Project Officer                                    2024011196                10/18/2014
                                                                                                                                                                              PM
                                                                                                                                                                              01:00
Patricia Melendres                                                      Case Coordinator                                   7035876557                10/1 S/2014
                                                                                                                                                                              PM
DHS/ICE Office with Jurisdiction over MSnor Involved
Name:                      py~ TAP
Title:                     DHS/JC
Contact Number:            7035689665
Peraon Filing Report
Name:                      Kelsey Wong
Tile:                      Case Manager




         Case 5:17-cv-00097-EKD-JCH Document 45-5 Filed 03/21/18 Page 8 of 12 Pageid#: 600
Contact Number:         5408860729
Contact for Fallow-up
Name:                   Andrew Mayles
Title:                  Cfinjcian
Contact Number:         5408860729
Approving Supervisor
Name:                   Cristina Casado
'rice:                  ORR/DCS Program Manager
Contact Number:         5408860729
User Notes:
SIR Addendum Notes:




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                                                                                  UAC Rasic Information                                ..



Last Name:

AKA:

Status:                     ADM[TTED
Da[e of Birth:                                                                                Gender:                      M
Alien No.:                  206369172                                                         LOS:                         35
Age:                        17                                                                Current Program:             Shenandoah V~Iley StaffSecure
Country of Birth:           Hondur~                                                           Admitted Date:               9/15/2014




Date of Incident:           10/19/2014                                                       Time of Incident:             09:30 PM
Incident Reported Date:     10/20/2014                                                       Incident Reported Time:       02:35 PM                                                ~
Location Of Incident:       Bravo Pod
Incident Type:
Unauthorized Absence:       rR~~,
                            r Unauthorized AttempURunaway Risk
                            fUnauthorized Absence of UAC(foster care)
Abuse Allegation: Type of   r Physical Abuse                                                 Abuse Allegation: Alleged     —Select Abuse Allegation Type —
Abuse                                                                                        Perpetrator
                            f" Sexual Abuse
                            r Verbal Abuse
                            r Child Neglect
                            f-Other Abuse
                                              __                                                                                                    __
UAC Behavior:                fPhysical Aggession                     r Incident Requiring Isolation       r'Sexual Assault             R Harm W Staff
                             fInappropriate Se~cual Behavior         r Sexual Harm to other UAC           r Physical Harm to Other UAC r Verbal Aggression
                             I~ Possession/Use of Weapon             ~ Harm to Self                       F~ Disruptive Behavior       A Suicide Ideation/Gesture/Attempt
                             f- Arrest and/or Incazceration ofa UAC r Possession/Use ofDrugs/Alcohol F~ Restraint of UAC
Medical/Mental Health:       r p~~ of UAC
                             r Mental Health Emergency
                             r Injury Requiring Medical Attention
                             r UAC Preg~iant
                             r Childbirth
                             r Medication Issue
O[h e r:
                             r $USj.~Cffd $IIILLg~IR~[3ffICk1Rg CARCRftI


                            !-Incident Involving Community Members
                            r Incident Involving Media
                            r Incident Involving Police
                               __ __--
Synopsis of 1 ncidenr.      On 10/19/14 at 9:30PM right after showers, UAC                                     ~ expressed wanting to kill himself. UAC began to punch the wall and was




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                           screaming"I hate myself,I want to die". UAC was verbally deescalated by staffand after calming down informed staffthat he was still playing on killing himself.
                           Before going to his room,UAC said goodbye to other minors in the progam and told them he was going to die. UAC proceeded to enter his room and appeared to
                           be caLn. At 9:SOPM,UAC's CWuciaq Mdrew Mayles, was informed about UAC's behavior prior to entering his room. Clinician informed staft~to maintain a visual
                           observation ofUAC,and ifthere was any fiuther escalation to contact Valley Community Services Board(CSB). Soon after, UAC began to re-engage in self-
                           injurious behavior. At 10:15PM,UAC was placed in a physical hold by stafffor the safety ofUAC and prevent aoy fiuther harm to self. UAC struggled to remain in
                           the physical hold and began to kick staff. Additional staff was called for assistance, and as staffarrived were able to hold UAC's legs down to prevent lilm from
                           continuing to kick staff. UAC was placed in a sitting position on the floor with the assistance ofadditional staff. At 10:18PM,CSB was contacted by staff'and asked
                           to come to Shenandoah Valley Juvenile Center(SVJC)to conduct a mental status evaluation for UAC.CSB infom~ed staffthat Commonwealth Center for Children
                           and Adolescents —Psychiatric Hospital(CCCA)was at full capacity and that they were unable to come evaluate UAC.At this time,UAC continued to be verbally
                           de-escalated by staffin an attempt to calm him down. After calming down,UAC's legs were released but UAC continued to have his azms in the physical hold. UAC
                           was able to express that he did not feel comfortable with being completely released, as he continued to express intent to self-harm. At 10:50PM,UAC informed staff
                           that he thought he was going to be able to remain calm and staffreleased UAC's arms from the physical hold. At approximately 11:OOPM,UAC remained in his
                           room and all staffexcited without further incident At 1 I:45PM,Lisa Bailer from CSB amved to conduct the interview and mental status evaluation. At 11:SOPM,Lisa
                           Baller completed the interview and mental status evaluation. At this time, it was determined that UAC did not meet the criteria for psychiahic hospitalisation and did
                           not express plans ofself-hann at that time.
Witnesses:                 Ms. Thacker, Assistant Shift Supervisor Mr. Sutherly, Staff Mr. Simpson,S1affMr. Jordan, Staff
Staff Response and         On 10/19/]4 at 9:30PM,Mr. Sutherly and Ms. Thacker verbally deescalated UAC                                           after he expressed wanting to kill himself.
Intervention:              UAC was able to calm down after verbal de-escalation and informed staff that he was still planning on kiWng himself. At 9:SOPM,staffinformed UAC's CIurician,
                           Mdrew Mayles,about iJAC's comments and behavior. Clinician informed staffto maintain visual observation ofUAC now that he was calm,and ifthere was any
                           further escalation to contact Valley Community Services Boazd(CSB). Soon after, UAC began to re-engage in self-injurious behavior. At 10:15PM,Mr. Sutherly
                           placed UAC in a physical restraint for the safety of UAC and to prevent any further harm to self. Due to UAC's continued shuggle during the physical hold,staff
                           called additional staffto assist. Mr. Simpson and Mr. 7ordan arrived on the pod and were able to hold UAC's legs down to prevent him from continuing to kick staff.
                           Wide staff's assistance, UAC was placed in a sitting position on the floor. At 10:18PM,stafFcontacted CSB and requested to conduct a mental status evaluation for
                           UAC. Staffcontinued to use verbal d~escalation in an attempt to calm UAC down, while they waited for the evaluation to l~ performed. After caUning down, Mr.
                           Simpson and Mr. Jordan were able to release UAC's legs. Mr. Sutherly continued to hold UAC's arms in the physical hold, due to UAC continuing to express his
                           intent to self-hazm. At 10:50PM,Mr. Sutherly released UAC's arms from the physical hold,due to UAC expressing he was able to remain calm. At approximately
                           11:OOPM,all staffexcited UAC's room without further incident. At 11:45PM,Lisa Bailer from CSB amved to conduct the interview and mental status evaluation. At
                           11:SOPM,Lisa Bailer completed the interview and mental status evaluation. At this time, it was determined that UAC did not meet the criteria for hospitalisation and
                           did not express plans ofself-hazm at that dme.
resolution and Follow-up: ~s incident will continue to be staffed with UAC                                        Clinician, Andrew Mayles. UAC                                  will
                          remain on Intensive Watch. The facility nurse will follow up on the minor's scratches. UAC has been accepted to Sandy Pines RTC. UAC is currently pending bed
                          space to be available at Sandy Pines RTC for the Vansfer.
Recommendations:          It is recommended that UAC                                       continue to receive case management mental health, legal and medical services.
Actual or Expected Media
                           No actual or expected media interest.
Interest:
Persons/Agency or Relationship to UAC
                           Contact Name                                                   Agency                             Phone No.                   Date                     Time
                                                                                                                                                                        X2.35
David Fink                                                            ORR/DCS FFS                                      2025073294              10/20/2014
                                                                                                                                                                        PM
                                                                                                                                                                        02:35
.lim Sche~lcenberg                                                    ORR/DCS Project Officer                          2024011196              10/20/2014
                                                                                                                                                                        PM
                                                                                                                                                                        02.35
Patricia Melendres                                                    GDIT Case Coordinator                            7035876557              10/20/2014
                                                                                                                                                                        PM
                                                                                                                                                                        02:35
Mark Bennet                                                           ORR/DCS Contract Field Specialist                2022605738              (0/20/2014
                                                                                                                                                                        PM
                                                                                                                                                                        42.35
DUCSHotline                                                           sirhodine/a~acf.hhs.gov                                                  (0/20/2014
                                                                                                                                                                        PM
DHS/ICE Office with Jurisdiction over Minor Involved
Name:                      Paul Trump




     Case 5:17-cv-00097-EKD-JCH Document 45-5 Filed 03/21/18 Page 11 of 12 Pageid#: 603
Title:                 DHS/JC
Contact Number:        7035689665
Person Filing Report
Name:                  Carina COtttreras
Title:                 Case Manager
Contact Number:        5408860729
CootaM for Follow-up
Name:                  Carina Cotitreias
Title:                 Case Manager
Contact Number:        5408860729
Approving Supervisor
Name:                  Cristina Casado
Title:                 ORR/DCS Program Manager
Contact Number:        5408860729
User Notes:
SIR Addendum Notes:




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